Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 1 of 15




                                                         8/31/2017
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 2 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 3 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 4 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 5 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 6 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 7 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 8 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 9 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 10 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 11 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 12 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 13 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 14 of 15
Case 1:16-cv-08323-PAE Document 54 Filed 08/31/17 Page 15 of 15
